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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

 DEBORAH MADDING

        Plaintiff,
 v.                                               CASE NO.: 2:17-cv-00589-SPC-CM

 CREDIT PROTECTION ASSOCIATION

        Defendant.
                                             /

                          NOTICE OF PENDING SETTLEMENT
       PLAINTIFF, DEBORAH MADDING, by and through her undersigned counsel, hereby
submits this Notice of Pending Settlement and states that Plaintiff, DEBORAH MADDING, and
Defendant, CREDIT PROTECTION ASSOCIATION, have reached a settlement with regard to
this case and are presently drafting, finalizing, and executing the settlement and dismissal
documents. Upon execution of same, the parties will file the appropriate dismissal documents
with the Court.

                               CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that, on this 29th day of January, 2018, a true and correct copy of
the foregoing was filed with the Clerk of the Court and served on the parties of record using the
CM/ECF system.
                                     Respectfully submitted,
                                            /s/Heather H. Jones
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                                            Florida Bar No. 0118974
                                            William “Billy” Peerce Howard, Esq.
                                            Florida Bar No. 0103330
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